                                                                                    U.S. DISTRrCT COURT
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                         IN THE UNITED STATES DISTRIC couRk MAY - 9 2018                                          i
                              NORTHERN DISTRICT OF TE/AS    /..      _                                           J
                                  FORT WORTH DIVISION    CLERK, U.S. DISTR£CT COURT
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UNITED STATES OF AMERICA                              §                 · · - - - --------------------------    ------------- _
                                                      §
VS.                                                   §    NO. 4:17-CR--158--A
                                                      §
CARLEY JEAN BENNINGFIELD, ET AL.§


                                               0 R D E R

        Attached to this order as an exhibit is a copy of a letter

dated May 5, 2018, the undersigned received in Chambers on the

date of the signing of this order, from defendant ANGEL RENEE

NORRIS      ("Norris").           This is the second time the court has

received a similar letter from Norris.                             The first was attached as

an exhibit to an order the court issued in this case on

January 26, 2018.               Doc. 158. 1        Pursuant to the directives of that

order, Norris's attorney, Danny Burns ("Burns"), met with Norris

and discussed her concerns, following which Burns informed the

court that he had "talked with Ms. Norris about her jail house

lawyers [advice] was not the best and she agreed that she would

listen to [his advice] and [he] agreed that [he] would follow her

requests        [if] she still wanted them after [they]                             talked about

them."       Doc. 159 at 3.             The court is optimistic that frank and




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        The "Doc.       "references are to the numbers assigned to the referenced items on the docket in this
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open discussions between Norris and Burns will, again, result in

a resolution of the concerns of Norris.        Therefore,

     The court ORDERS that Danny Burns ("Burns"), after

delivering a copy of this order to Norris, meet with Norris in

person by May 14, 2018, to the end of resolving any problems

existing between them, and that by 4:00 p.m. on May 17, 2018,

Burns file a report with the court, under seal if he desires,

concerning such meeting, including a statement as to the date

when the meeting was held, the time of day it commenced, the time

of day it ended, things that were discussed in the meeting, and

the outcome of the meeting.

     When Burns meets with Norris as described in the preceding

paragraph, Burns shall inform Norris that Norris could lose her

attorney-client privilege as to any communications between her

and Burns that are relevant to her request for substitution of

counsel if she persists in such request.

     The court further ORDERS that if Burns concludes as a result

of things that occur at the meeting that a motion should be filed

on behalf of Norris, Burns file such a motion by 4:00 p.m. on

May 17, 2018.

     SIGNED May 9, 2018.




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